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                                                                               2019 Aug-09 PM 12:16
                                                                               U.S. DISTRICT COURT
                                                                                   N.D. OF ALABAMA


                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION

TONETT WELLS,                            )
                                         )
      Plaintiff,                         )
                                         )
v.                                       )     CASE NO. 2:19-cv-456-GMB
                                         )
LIFE INSURANCE COMPANY                   )
OF NORTH AMERICA,                        )
                                         )
      Defendant.                         )

                                     ORDER

      On August 8, 2019, the parties filed a joint stipulation of dismissal that

complies with Federal Rule of Civil Procedure 41. Doc. 15. Accordingly, this matter

is DISMISSED WITH PREJUDICE, each party to bear its own costs. Fed. R. Civ.

P. 41(a)(1)(A)(ii).

      DONE and ORDERED on August 9, 2019.


                                   _________________________________
                                   GRAY M. BORDEN
                                   UNITED STATES MAGISTRATE JUDGE
